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Plaintirr, D‘ OF TN MCKSON

v. Cr. No. 04-“| 0075-T
l\/|ELVIN STEVVART,

Defendant.

 

ORDER ON ARRA|GNMENT

 

This cause came to be heard on June 10, 2005. The Assistant United States Attorney
appeared on behalf of the government and the defendant appeared in person and With the
following counse|, Who is appointed:

NAi\/lE: Dianne Srnothers, Asst. Federai Defender
ADDRESS:

TELEPHONE:

The defendant, through counse|, Waived formal arraignment and entered a plea of not
guilty.

All motions shall be filed Within thirty (30) days from the date hereof unleSS, for good cause
shown to a District Judge, such period is extended

The defendant, being held Without bond pursuant to BRA of 1984, is remanded to the

custody of the U.S. l\/larshal.
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S. THOl\/|AS ANDERSON
United States Magistrate Judge

Charges: controlled substance: se|l, distribute or dispense; marijuana: sell, distribute or
dispense

Assistant U.S. Attorney assigned to case: Grinalds

Rule 32 Was not Waived.

This document entered on the docket sheet in compliance
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DISTRIC COURT - WESRNTE D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 1:04-CR-10075 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
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Ste. B-S

Jackson7 TN 38301

Richard Leigh Grinalds

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

